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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                        '/10
                                                      S2 23 Cr. ~     (SHS)
                -v.-
                                                      PROTECTIVE ORDER
 ROBERT MENENDEZ,                                     WITH RESPECT TO CERTAIN
 NADINE MENENDEZ,                                     CLASSIFIED MATERIALS
       a/k/a "Nadine Arslanian,"
 WAELHANA,
      a/k/a "Will Hana,"
 JOSE URIBE, and
 FRED DAIBES,

                               Defendants.



       This matter came before the Court on the Government' s motion (the "Government

Motion"), exhibits, and the declarations of Government officials, which were filed ex parte in               <'/'Jr
                                                                                  Ja,1-A IYlt"'4J1
                                                                                                 }\ J."J'i   J lJ
camera, and through the Classified Information Security Officer on February 9, 202) (collectively,

the "Government Submission").

       The Government Submission sought a protective order, pursuant to Section 4 of the

Classified Information Procedures Act ("CIP A") and Rule 16(d)( 1) of the Federal Rules of

Criminal Procedure, regarding certain materials and/or information. See 18 U.S.C. App. 3, § 4.

After ex parte, in camera consideration of the Government Submission, this Court finds:

               1.      The    Government     Submission    contains     and   describes   classified

information that requires protection against unauthorized disclosure.         That information is

described with particularity in the Government Submission.
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               2.      The head of the department(s) that has or have control of the classified

information described in the Government Submission, after personal consideration, has lodged the

state secrets privilege with respect to that classified information.

               Deleted Classified Materials

               3.      Disclosure of the Classified Materials, as defined in the Government

Motion, to the defendants, defense counsel, or the public could reasonably be expected to harm

national security.

               4.      The Classified Materials are either not discoverable under Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny, or Rule 16 of the Federal Rules of Criminal

Procedure, or otherwise, and/or are not relevant and helpful to the defense, that is, useful to counter

the Government's case or bolster a defense, as required under United States v. Arel, 533 F.3d 72,

78 (2d Cir. 2008).

               Substituted Classified Materials

               5.      For certain information contained in the Classified Materials, the

Government has provided classified summary substitutions (the "Classified Summary

Substitutions"), as defined the Government motion and as contemplated by Section 4 of CIP A.

The proposed Classified Summary Substitutions- as appended to the Government Motion-

provide the defense with substantially the same ability to make defenses as would disclosure of

the pertinent Classified Materials.

               6.      The disclosure of the Classified Summary Substitutions to the defendants

or the public r.easga' could reasonably be expected to harm national security.         JI-If
               Accordingly, it is:


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                ORDERED that the Government Motion is granted, and the Classified Materials,

as defined in the Government Motion, and described herein, need not be disclosed to the defense;

and it is further

                ORDERED that the Government shall produce to appropriately cleared defense

counsel, pursuant to a protective order governing the classified materials provided in discovery,

the Classified Summary Substitutions described herein; and it is further

                ORDERED that the Government Submission is hereby sealed, and shall remain

preserved in the custody of the Classified Information Security Officer or his designee, m

accordance with established court security procedures, until further order of this Court.
                                           /51
                SO ORDERED this _j__ day of .l..o<CjS
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                                                                 YH. STEIN
                                                               s District Judge
                                                    Southern District of New York




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